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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                     §
                                             §
                     Government,             §
                                             §
VS.                                          §    CRIMINAL NO. H-05-337-1
                                             §
ANGELA ARMSTRONG,                            §
                                             §
                     Defendant.              §

                                         ORDER

       Counsel for defendant Angela Armstrong has filed a motion to withdraw as counsel

of record. The defendant also requested a notice of appeal be filed by the clerk at the time

of sentencing. The motion to withdraw is granted. The magistrate judge will appoint counsel

to represent the defendant for appeal purposes.

              SIGNED on May 27, 2008, at Houston, Texas.

                                       ______________________________________
                                                    Lee H. Rosenthal
                                               United States District Judge
